       Case 18-53552-pmb        Doc 25 Filed 05/14/18 Entered 05/14/18 13:33:01                Desc 7-day
                                      Final Fee Notice Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT
                                        Northern District of Georgia
                                             Atlanta Division



In Re: Debtor(s)
       Bernard Antonio Millard Sr.                        Case No.: 18−53552−pmb
                                                          Chapter: 13



        NOTICE OF DEFICIENCY REGARDING UNPAID FILING FEES

        Notice is hereby given that the Debtor or Debtors (hereinafter "Debtor") is in default on the
                 final filing fee installment in this case.
       Debtor is hereby notified to pay this installment fee within seven days of the entry of this
deficiency notice, that is by May 21, 2018 .
For payments by mail, remit using cashier's check, money order or attorney's check made payable to "Clerk,
United States Bankruptcy Court" to the address listed below:

                                         United States Bankruptcy Court
                                          1340 Richard Russell Building
                                            75 Ted Turner Drive, SW
                                               Atlanta, GA 30303

For payments made by hand delivery to a divisional office in Gainesville, Newnan or Rome, note that cash is not
accepted. You must remit using cashier's check, money order or attorney's check. The Atlanta divisional office will
accept these forms of payment as well as cash.


       If this filing fee installment is not paid on or before the above date, this case will be dismissed
for failure to pay said fee, without further notice or opportunity for hearing.

        A copy of this deficiency notice shall be served on Debtor, Debtor's Counsel and Trustee.
Dated: May 14, 2018 .




                                                                             M. Regina Thomas
                                                                             Clerk of Court
                                                                             U.S. Bankruptcy Court
Form 305f Modified June, 2015
